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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

SUZONNE KAKOOLAKI,                    §
        Plaintiff,                    §
                                      §
V.                                    §          Civil Action No. 3:22-cv-121
                                      §
GALVESTON INDEPENDENT                 §
SCHOOL DISTRICT,                      §
         Defendant.

     DEFENDANT GALVESTON INDEPENDENT SCHOOL DISTRICT’S
              MOTION FOR SUMMARY JUDGMENT
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                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
   Defendant Galveston Independent School District (“GISD” or the “District”) moves for

summary judgment on all claims asserted by Plaintiff Suzonne Kakoolaki, as follows:

            I.      NATURE AND STAGE OF THE PROCEEDING
       GISD is an independent school district located in Galveston County, Texas. Central

Middle School (“CMS”) is one of the five middle schools in the District. Plaintiff Suzonne

Kakoolaki applied for a social studies teaching position at CMS in July 2021. It is undisputed

that Plaintiff participated in three interviews for the position. Plaintiff alleges she was offered

the position she applied for, but the offer was withdrawn after the District learned of her visual

impairment. Plaintiff accuses the District of discriminating against her based on her disability

and by not accommodating her in violation of the of the Americans with Disabilities Act

(“ADA”).

       Plaintiff’s Complaint is shrouded with conclusory allegations and her assertions are

devoid of evidentiary or legal support. GISD moves for summary judgment on all of Plaintiff’s

claims because she cannot establish a prima facie case of disability discrimination. Specifically,

Plaintiff cannot establish (i) that she was “otherwise qualified” for the position she applied

for; (ii) that the District failed to reasonably accommodate her; or (iii) that the District refused

to hire her because of her disability. Additionally, even assuming Plaintiff could establish a

prima facie case of discrimination, her claims still fail because any adverse employment actions

were taken for legitimate business reasons—the District was unable to reach Plaintiff’s former

supervisor whom she listed as a reference and a more qualified candidate applied for the

position of social studies teacher at CMS.



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                        II.    ISSUES TO BE RULED UPON

       Summary judgment is proper when the movant can demonstrate that there is no

genuine issue of material fact and that it is entitled to judgment as a matter of law. FED. R.

CIV. P. 56(c). The District’s summary judgment motion presents the following issues:

       i.        Whether Kakoolaki can establish that the District discriminated against her
                 because of her disability given that she could not perform the essential functions
                 of the job with reasonable accommodations;

       ii.       Whether Kakoolaki can establish that the District failed to accommodate her
                 given that she was not qualified for the position she applied for and her
                 requested accommodations were unreasonable as a matter of law;

       iii.      Whether Kakoolaki can show direct discrimination by the District based on her
                 disability; and

       ii.       Assuming Kakoolaki can establish a prima facie case of disability discrimination,
                 whether she can establish that the District’s reasons for not hiring her are
                 pretextual.

              III.   STANDARD OF REVIEW/BURDEN OF PROOF

       Summary judgment is proper when the pleadings and any evidence on file demonstrate

that “there is no genuine issue as to any material fact and that the moving party is entitled to

judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (citations

omitted). Although “a party seeking summary judgment always bears the initial responsibility

of informing the district court of the basis for its motion, and identifying the portions of the

[record] which it believes demonstrate the absence of a genuine issue of material fact,” there

is “no express or implied requirement [] that the moving party support its motion with

affidavits or other similar materials negating the opponent’s claim.” Id. at 323 (emphasis in

original); see also Boudreaux v. Swift Transp. Co., Inc., 402 F.3d 536, 54–45 (5th Cir. 2005) (“Swift

met [its] burden by asserting in its motion for summary judgment that Boudreaux could not

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prove that Swift had breached a duty that it owed to him, and claiming that there ‘is an absence

of evidence to support the claims that Plaintiff is asserting against Swift.’”). An issue of

material fact is one that might affect the outcome of the suit under the governing law. Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Conclusory assertions are insufficient to raise a

genuine issue of material fact precluding summary judgment. Reese v. Anderson, 926 F.2d 494,

498 (5th Cir. 1991).

                       IV.    SUMMARY JUDGMENT FACTS

       GISD is an equal opportunity employer and does not discriminate against employees

based on any protected classifications. [Exhibit A]. This nondiscriminatory practice extends

to all employment decisions, including hiring, advancement, or discharge of employees,

compensation, job training, and other terms, conditions and privileges of employment. Id.

Additionally, GISD’s policies provide that employees shall not discriminate on the basis of

race, color, ancestry, national origin, sex, handicap or disability, marital status, religion, veteran

status, political affiliation, sexual orientations, gender identity, and/or gender expression. Id.

       Kakoolaki submitted her application and resume for a teaching position at GISD on

July 2, 2021. [Dkt. 1, ¶16] Kakoolaki had experience as a student teacher and intern but had

not taught a classroom prior to applying at GISD. [Exhibit B]. When Kakoolaki applied, Dr.

Monique Lewis served as the Principal of CMS. [Exhibit C, ¶2]. Ms. Stephanie Joseph was the

school’s Social Studies Instructional Specialist. [Exhibit D, 29:24-30:1] At this time, schools

were still dealing with an unprecedented and raging pandemic. [Exhibit C, ¶ 4]. In response to

the spread and danger of Covid-19, the Texas Education Agency allowed schools to provide




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virtual learning options for students during the 2020-2021 school year. 1 While most students

were attending school in person at the end of the 2020-2021 school year, it was still unknown

what the 2021-2022 school year would look like as a result of Covid-19. [Id.]

        In preparing for the 2021-2022 school year, Ms. Joseph contacted Kakoolaki for an

interview for the sixth-grade social studies position at CMS. [Exhibit C, ¶3; Exhibit E, 30:1-3]

Kakoolaki participated in three virtual interviews for the position at CMS. [Exhibit E, 50:23-

51:1]. Kakoolaki’s first and second interviews were with Ms. Joseph. [Id. at 31:20-24 & 51:11-

13]. Kakoolaki’s third interview was with both Ms. Joseph and Dr. Monique Lewis. [Id. at 69:2-

3].

        First Interview

        Kakoolaki’s first interview took place on July 6, 2021. [Exhibit F]. At the end of the

first interview, Ms. Joseph offered Kakoolaki a contingent job offer that was dependent on

Kakoolaki’s background and references checking out. [Exhibit E, 37:10-24]. Ms. Joseph

typically conducted the reference checks and Human Resources conducted the background

checks for applicants. [Id. at 38:3-6] Immediately following the zoom interview, in an email

dated July 6, 2022, Kakoolaki disclosed her visual impairment to Ms. Joseph. [Id. at 40:12-15;

Exhibit G]. In this e-mail, Kakoolaki stated how she has “already developed an [sic] employed

strategies that have been proven to be highly effective” regarding classroom management.

[Exhibit G].




1https://tea.texas.gov/about-tea/news-and-multimedia/news-releases/news-2020/tea-announces-additional-reopening-
guidance-including-local-option-for-an-online-only-start-to-the-2020-21-school-year


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          On July 7, 2021, after learning about her disability, Ms. Joseph emailed Kakoolaki’s

references including Dr. Pollock, who was listed as the Principal of Garden Oaks Montessori

and supervisor for Kakoolaki. [Exhibit H; Exhibit I]. On July 9, 2021, Kakoolaki sent another

e-mail to Ms. Joseph, stating an assumption that she sensed “some concerns on [Joseph’s] part

and I totally understand, but please understand that I have already proven myself as a

successful classroom manager and teacher.” [Exhibit J]. However, Kakoolaki had never

managed her own classroom prior to her interview with GISD. [Exhibit B; Exhibit K, 79:1-

7]. In fact, Kakoolaki was supervised at all times during her internships. [Exhibit K, 26:15-

27:23].

          Second Interview

          On July 12, 2021, six days after being made aware of her disability, Ms. Joseph interviewed

Kakoolaki for a second time. [Exhibit E, 52:18-20]. During this interview, Ms. Joseph obtained

more information regarding Kakoolaki’s visual impairment and how Kakoolaki would be able

to perform in a classroom. [Id. at 52:23-53:5]. Ms. Joseph asked Kakoolaki questions about

her references because she was having trouble getting in touch with Dr. Pollock, the principal

of Garden Oaks Elementary where Kakoolaki completed her student teaching requirement.

[Id. at 59:19-60:24 & 62:13-18]. After the second interview, Ms. Joseph requested to interview

Kakoolaki a third time in order for Dr. Lewis to participate and meet Kakoolaki. [Id. at 57:22-

58:8].

          Third Interview

          On July 22, 2021, after informing Dr. Lewis about Kakoolaki’s disability, Ms. Joseph and Dr.

Lewis participated in the third interview of Kakoolaki. [Id. at 44:3-6 & 68:11-14]. The third



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interview consisted of reviewing the job description, a document entitled “Classroom and

Campus Non-Negotiables,” the professional standards for the District, and “I Said Yes”

documents. [Exhibit E, 83:20-84:11; Exhibit L]. These documents contained information

regarding the essential functions of the position of social studies teacher, including

responsibilities for classroom management and safety and security, as well as teacher standards

and expectations. [Id.]

       The Essential Functions of the Job and Plaintiff’s Response

       During this third interview, Ms. Joseph and Dr. Lewis briefed the expectations and

responsibilities of a CMS teacher with Kakoolaki. [Exhibit K, 53:5-14]. The job description

has five specific topics under “Major Responsibilities and Duties” that include instructional

strategies, student growth and development, classroom management and organization,

communication, and professional growth and development. [Exhibit M].

       At the end of the interview, Ms. Joseph had the impression Kakoolaki felt “unsure”

with the information presented to her. [Exhibit E, 69:21-71:14]. Kakoolaki testified she was

“thinking of what [she] was going to need to fulfill some of the essential functions.” [Exhibit

K, 55:17-22]. Kakoolaki requested to have the job description and the “Classroom & Campus

Non-Negotiables” documents sent to her via e-mail so she could review them independently.

[Id. at 55:12-16].

       During the 2020-2021 school year, due to Covid-19, students at CMS had to participate

in class via Zoom, a cloud-based communications service the District used. [Exhibit E, 81:3-

11]. During the third interview, Ms. Joseph asked Kakoolaki how she would handle remote

learning if the District needed to go back to online classes due to Covid-19 or any other reason.



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[Id. at 70:12-22]. Kakoolaki responded that she would have her sister assist with her virtual

classroom management. [Id. at 70:19-71:20-23; Exhibit D, 41:18-42:9]. This response was a

concern for Dr. Lewis and Ms. Joseph because the District is required to comply with federal

laws, namely the Federal Educational Rights and Privacy Act (FERPA) which protects

students’ educational records. [Exhibit D, 42:6-9; Exhibit C]. Also, having someone who is

not employed by the school – i.e. someone who has not undergone training and background

checks – is a student and campus safety and security risk. [Id.] Ms. Joseph also had concerns

regarding how Kakoolaki would handle safety issues in an emergency, such as a fire drill or a

lock-down, and keep her students safe and accounted for. [Exhibit E, 72:8-12]. The students

Kakoolaki would be responsible for if she were hired for the position ranged in age from

eleven to twelve years old. [Exhibit C, ¶3]. Kakoolaki testified that in the event of an

emergency, she would “count[] off” or call the names of her students to ensure accountability.

[Exhibit K, 61:21-62:15]. Kakoolaki testified she would also seek “assistance” from someone,

and she admits she would possibly request an “instructional aide to be assigned to the

classroom” – another employee – in order to be able to conduct the essential functions of the

job. [Id.]

        Kakoolaki further testified that not only would she need a classroom assistant for

virtual classes, she would also need an assistant for in-person classes as well. [Exhibit K, 68-

69]. Kakoolaki testified she would need a classroom assistant, “an adult staff with two

eyeballs”, to inform Kakoolaki of behavioral or participation issues, such as if a student does

not have their camera on or is on their cellphone during an online class. [Id. at 70]. Kakoolaki

further testified she would need a classroom assistant to help identify in-person class behavior,



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such as if a student brought a gun to class or students were engaging in sexual activity. [Id. at

69:18-70:25]. Kakoolaki testified that without a classroom assistant informing her, she likely

would not be aware of certain inappropriate behaviors. [Id.]

       Four days after her third interview, on July 26, 2021, Kakoolaki finally responded to

Dr. Lewis and Ms. Joseph regarding how she will “effectively perform all of the essential

functions” of a social studies teacher. [Exhibit N]. Kakoolaki stated she will utilize the other

teachers at the school to assist in monitoring dress code and appropriate hallway behavior.

[Id.] In regard to virtual instruction, Kakoolaki sated she will “need to be allowed to invite a

co-host to sit in on [her] class and observe student behavior.” [Id.] Kakoolaki stated that this

co-host would need to be “familiar with the rules and be able to identify when they are being

broken.” [Id.]

       On July 27, 2021, Dr. Lewis informed Kakoolaki that the sixth-grade social studies

position had been offered to another candidate. [Exhibit O].

       References

       Dr. Lewis testified that the District generally required three professional references that

must be “completely checked and confirmed.” [Exhibit D, 33:10-17, 34:22-24]. There was one

reference that was Kakoolaki’s “main reference” because this reference, Dr. Pollock, was

Kakoolaki’s principal at the elementary school where she completed her student teaching

requirement. [Id. at 45:3-9]. Dr. Pollock was imperative to Kakoolaki’s application process,

and Dr. Lewis was not able to get hold of this reference. [Id.] Dr. Lewis testified that it is a

“concern” if she cannot reach the “person who was evaluating you the year prior who can

speak to your work” and ability. [Exhibit D, 50:3-24]. Also, based on the fact that Kakoolaki



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had never managed an entire classroom on her own, and had been under constant supervision,

it was important for Dr. Lewis to speak with Kakoolaki’s former supervisor. [Exhibit C, ¶6].

In the end, Dr. Lewis testified she could not recommend Kakoolaki for hire to the District’s

Human Capital Management because she “did not have all the components”, namely, the

reference from Ms. Pollock. [Exhibit D, 56:1-57:1].

       Teacher Chosen for the Job

       The individual who was ultimately chosen for the social studies teaching position was

Ms. Judy Brown, a long-term substitute teacher with CMS. [Exhibit E, 98:25-99, Exhibit P]

Ms. Brown had experience managing a classroom on her own and was familiar with the

students and teachers at CMS. [Exhibit C, ¶8] Ms. Brown had worked on the CMS campus on

a daily basis since she was hired in 2017. [Exhibit C, 127:3-12, 130:2-7; Exhibit P].

       Post-GISD Applications
       Kakoolaki testified she also applied for teaching positions with two other school

districts – Cypress Fairbanks and Georgetown. [Exhibit K, 29:1-30:19]. She interviewed twice

with Cypress Fairbanks and once with Georgetown. Id. She did not receive employment offers

from either district. Id.

       Procedural Posture

       Kakoolaki filed a charge of discrimination with the EEOC on October 18, 2021,

alleging discrimination because of her disability. [Dkt. No. 1, ¶6]. The EEOC issued Kakoolaki

a Notice of Right to File a Civil Action on January 24, 2022. [Id. at ¶7]. Kakoolaki subsequently

filed her complaint with the Court on April 22, 2022.




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                   V.      SUMMARY OF THE ARGUMENT
       Kakoolaki has failed to support her claim for discrimination under the ADA with

sufficient facts. She does not provide facts to show she was qualified to be a social studies

teacher at CMS or that she was not hired because of her disability. The evidence shows that

Kakoolaki was not able to perform the essential functions of the job with a reasonable

accommodation. Moreover, the District was unable to contact one of Kakoolaki’s references

that was crucial in any decision to hire her, and another candidate came forward who had more

experience managing a classroom and had worked on the CMS campus. As such, Kakoolaki’s

disability discrimination claims fail and should be dismissed on summary judgment.

                   VI.    ARGUMENT AND AUTHORITIES
       The Court should grant GISD’s motion for summary judgment because Kakoolaki

cannot establish a prima facie case of disability discrimination. Even if she could establish a

prima facie case, she cannot show that the reasons GISD did not hire her are pretextual.

A. Kakoolaki Cannot Establish a Prima Facie Case of Disability Discrimination.

       The ADA prohibits discrimination “against a qualified individual on the basis of

disability” for job application procedures, hiring, termination, compensation, training, and

other terms and conditions of employment. 42 U.S.C. § 12112(a); Amsel v. Texas Water

Development Board, 464 F. App’x 395, 399 (5th Cir. 2012). To state a prima facie case claim for

discrimination under the ADA, a plaintiff must show that: 1) she is disabled or regarded as

disabled; 2) she is qualified for the job in question; 3) she suffered an adverse employment

action because of her disability; and 4) she was replaced by or treated less favorably than non-




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disabled employees. McInnis v. Alamo Cmty. College Dist., 207 F.3d 276, 279-80 (5th Cir. 2000);

see also Amsel, 464 F. App’x at 395.

   The statute defines “qualified individual” as:

       an individual with a disability who, with or without reasonable accommodation, can
       perform the essential functions of the employment position that such individual holds
       or desires. For the purposes of this subchapter, consideration shall be given to the
       employer’s judgment as to what functions of the job are essential, and if an employer
       has prepared a written description before advertising or interviewing applications for
       the job, this description shall be considered evidence of the essential functions of the
       job.

42 U.S.C. §12111(8).

       To satisfy her summary judgment burden as to the first element, Kakoolaki must put

forth admissible evidence sufficient to create a material dispute as to whether she is a “qualified

individual with a disability.” Feist, 730 F3d at 452; Claiborne v. Recovery Sch. Dist., 690 F. App'x

249, 253–54 (5th Cir. 2017). Next, Plaintiff is required to show that she is qualified under the

ADA. This requires Plaintiff to put forth evidence establishing that 1) she could perform the

essential functions of the job in spite of her disability, or 2) that a reasonable accommodation

of her disability would have enabled her to perform the essential functions of the job. Id. For

summary judgment purposes, the District does not dispute that Kakoolaki is an individual

with a disability. The District does, however, dispute that Kakoolaki is “otherwise qualified”

for the job of Teacher and that she was not hired because of her disability. Kakoolaki’s own

testimony shows that she was not qualified for the position at GISD that she applied for. She

could neither perform the essential functions of the job in spite of her disability and a

reasonable accommodation would not have enabled her to perform the essential functions of

the job.



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       With respect to the essential functions of the job listed in the job description, Kakoolaki

testified that she could not manage the classroom in person or over zoom without an assistant

present to monitor the class. [Exhibit K, 70:16-71:10]. Kakoolaki admitted that without the

assistance of another person to provide her access to student behavior she could not ensure

that students were present on a zoom platform. [Id. at 68:2-21]. With respect to protecting

students during a fire, Plaintiff testified that she would possibly need an instructional aide to

be assigned to her classroom. [Id. at 61:21-62:15]. In the event of a student possessing a

weapon or engaging in improper conduct, again, Plaintiff testified that she would rely on a

“classroom assistant” to assist her in managing the situation. [Id. at 69:18-21 and 70:1-11].

Plaintiff was asked about her ability to respond to an active shooter. [Id. at 63:25, 64:1-25 and

65:1-25]. Despite Kakoolaki’s attempts to dissuade any concern about her ability to protect

the students in this situation, Kakoolaki left more questions than answers.

       Kakoolaki was given three opportunities to persuade the District that she could

perform the essential functions of the job with reasonable accommodations – two times after

they learned of her disability. Four days after her third interview, Kakoolaki emailed the

District setting out the accommodations she would need to perform the essential functions of

the job. Plaintiff requested assistive technology and the assistance of her service animal, which

was not a concern for the District. [Exhibit N] But Plaintiff also said she would need a co-

host to assist her in the event she was required to teach by Zoom. [Dkt. No. 1, ¶26].

Specifically, Plaintiff stated the following:

       Regarding virtual meetings with students via Zoom, while the features are accessible to me, I will need
       to be allowed to invite a co-host to sit in on my class and observe student behavior. I will not expect the
       co-host to intervene, but only alert me to any mis-behavior, etc. This will not need to be a Certified
       Teacher, as I will maintain responsibility for all lessons and virtual classroom management, the co-host


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       will only need to be familiar with the rules and be able to identify when they are being broken. Co-
       hosts could include office staff, para-professionals, a teaching assistant, etc. I am happy to work with
       management to identify the most appropriate co-host.

[Exhibit N]. In this correspondence, Plaintiff also stated she would utilize other teachers to

assist her in monitoring dress code and appropriate hallway behavior. Id.

       Kakoolaki’s requested accommodations were not reasonable as a matter of law. Johnson

v. Ben E. Keith Co., No. 4:16-CV-1030-A, 2017 WL 3263134, at *3 (N.D. Tex. July 28, 2017)

(holding that an employee’s request to hire another driver to split his duties was not reasonable

as a matter of law since this was an essential function of the employee’s job.). “Providing a

‘reasonable accommodation’ under the ADA does not require the employer to ‘relieve the

employee of any essential functions of the job, modify the actual duties, or reassign existing

employees or hire new employees to perform those duties.’ ” Claiborne v. Recovery Sch. Dist., 690

F. App’x 249, 254-55 (5th Cir. 2017) (quoting Robertson v. Neromedical Ctr., 161 F.3d 292, 295

(5th Cir. 1998)). “If [the employee] can't perform the essential functions of his job absent

assigning those duties to someone else, (e.g., having someone else perform his job) then [the

employee] cannot be reasonably accommodated as a matter of law.” Robertson, 161 F.3d at 295.

       According to Kakoolaki’s own admissions, she would need another person to fulfill

the essential functions of the job of social studies teacher. Hiring a teacher’s aide or classroom

assistant to manage the behavior of the students or protect students in Kakoolaki’s classroom

would not enable Kakoolaki to perform the essential functions of her job, but would merely

reassign those duties to someone else. As such, Kakoolaki is not a qualified individual under

the ADA and her disability discrimination claim fails.




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B.     Kakoolaki Cannot Establish that the District Failed to Accommodate Her in
       Violation of the ADA.

       The ADA requires employers to make “reasonable accommodations to the known

physical or mental limitations of an otherwise qualified individual with a disability who is

an applicant or employee, unless such covered entity can demonstrate that the accommodation

would impose an undue hardship on the operation of the business of such covered entity.” 42

U.S.C. § 12112(b)(5) (emphasis added). To prevail in a failure-to-accommodate claim, Plaintiff

must show that she is a “qualified individual with a disability,” the disability and its

consequential limitations were “known” by the District employer, and the District failed to

make “reasonable accommodations” for such known limitations. Feist v. Louisiana, Dep’t of

Justice, Office of the Atty. Gen., 730 F.3d 450, 452 (5th Cir. 2013).

       Dr. Lewis concluded Kakoolaki would be unable to perform the essential functions of

the job because Kakoolaki stated she would need another person present if classes went online

again, she would need to enlist help from other teachers to engage with her students, her

responses to questions regarding safety and security, and her ability to manage issues such as

student cell phone use and safety with students. [Exhibit D, 45:1-17; 47-48; 56:2-57:1; 111:11-

112:12]. Dr. Lewis pointed out that the school did not have an employee with the capacity to

be consistently available to assist in Kakoolaki’s classroom. [Id. at 48:7-11, 97-98:17].

       Failure to participate in an interactive process does not - in and of itself - constitute a

violation of the ADA. See Picard v. St. Tammany Par. Hosp., 423 F. App'x 467 (5th Cir.2011) (per

curiam ) (rejecting argument that failure to engage in interactive process constitutes a per se

violation of the ADA); see also Silva v. City of Hidalgo, Tex., 575 F. App'x 419, 424, n.3 (5th Cir.

2014). For Kakoolaki to succeed on her failure to accommodate claim, she would have to put

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forth evidence to show that a “reasonable accommodation” existed that would have allowed

her to perform the essential functions of the job, such that she was “qualified.”

       The ADA requires employers to provide only reasonable accommodations. E.E.O.C. v.

Argo Distribution, LLC, 555 F.3d 462, 471 (5th Cir. 2009). An accommodation relieving an

employee from performing essential job functions cannot be considered reasonable.

Robertson v. Neuromedical Ctr., 161 F.3d 292, 295–96 (5th Cir. 1998); Cortez v. Raytheon Co., 663

F. Supp. 2d 514, 524-25 (N.D. Tex. 2009). The law does not require an employer to eliminate

an essential function of the job or to have another employee perform the essential function

for the allegedly disabled employee. See Barber v. Nabors Drilling, U.S.A., Inc., 130 F.3d 702, 709

(5th Cir.1997); see also Bradley v. Univ. of Tex. M.D. Anderson Cancer Ctr., 3 F.3d 922, 925 (5th

Cir.1993); Pedroza v. Autozone, Inc., 536 F.Supp.2d 679, 698-99 (W.D. Tex. 2008); Bennett v.

Calabrian Chemicals Corp., 324 F. Supp. 2d 815, 837-38 (E.D. Tex. 2004) aff'd, 126 F. App'x 171

(5th Cir. 2005)(internal citations omitted).The ADA does not require an employer to provide

“an accommodation that would result in other employees having to work harder or longer.”

Bennett v. Calabrian Chemicals Corp., 324 F. Supp. 2d 815, 837-38 (E.D. Tex. 2004) aff'd, 126 F.

App'x 171 (5th Cir. 2005)(internal citations omitted).

       In response to the fact that she cannot perform several major responsibilities required

for the job of Teacher, Kakoolaki suggested that another person could perform those duties

for her. This is not reasonable, and the District was not required to provide these

accommodations. Kakoolaki’s failure to accommodate claim should be dismissed.




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C.     Kakoolaki’s Claim of Direct Discrimination Fails.

       Assuming Kakoolaki is attempting to claim that Dr. Lewis’s alleged statement about

hiding her blindness is direct evidence of discrimination, Kakoolaki’s claim fails. First, Dr.

Lewis denies making that statement. [Exhibit D, 113:7-10]. Second, even assuming Dr. Lewis

did make this statement, Kakoolaki acknowledged that the statement was made in the context

of managing a classroom. [Exhibit K, 41:42-43:20]. Dr. Lewis testified that she told Kakoolaki

that students will run her over if she doesn’t have good control of the classroom and the

policies and procedures. [Id. at 113:11-23]. Ms. Joseph cooroborated that telling teachers to

“hide their weaknesses from the students” is something they say to teachers because kids will

take advantage of them. [Exhibit. E, 83:7-19]

       Any assertion by Kakoolaki that she was not hired because of her disability based solely

on this statement is insufficient to establish a prima facie case for a direct discrimination claim

under the ADA. The Fifth Circuit has defined direct evidence as “evidence that, if believed,

proves the fact of discriminatory animus without inference or presumption.” Rodriguez v. Eli

Lilly & Co., 820 F.3d 759, 765 (5th Cir. 2016) (quoting Sandstad v. CB Richard Ellis, Inc., 309

F.3d 893, 897 (5th Cir.2002)).“The need to infer or presume the causal connection means that

the statements are not direct evidence of intentional race discrimination.” Jones v. Overnite

Transp. Co., 212 F. App'x 268, 274 (5th Cir. 2006). Kakoolaki was asked what she understood

Dr. Lewis’s alleged statement to mean:

         Q.· ·Okay.· And what, what your inference of her statement:· How are you going to hide
         your blindness?

         A.· ·Because she was saying:· These kids are going to eat you alive.· You know, so you
         know, the less they know of your limitation, that's how I interpreted it. The less I have -- the
         less they are aware of my limitation, otherwise the kids will eat you alive.


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[Exhibit K, 43:21-44:2].

       This statement does not show discriminatory animus even with the inference made by

Kakoolaki. Kakoolaki’s presumption regarding the meaning of Dr. Lewis’s statement is

insufficient to show direct discrimination. “Unsubstantiated assertions, improbable inferences,

and unsupported speculation are not sufficient to defeat a motion for summary

judgment.” Brown v. City of Houston, 337 F.3d 539, 541 (5th Cir. 2003). Moreover, after

Kakoolaki disclosed her disability to the District, the District called her references and

interviewed Kakoolaki two more times. [Id. at 48:21-24] This evidence contradicts Kakalooki’s

direct discrimination claim and this claim should be dismissed.

D.     Even Assuming Kakoolaki Can Demonstrate a Prima Facie Case of Disability
       Discrimination, She Cannot Establish that GISD’s Reasons for Taking any
       Adverse Employment Actions Against Her Were Pretextual.

       Assuming that Kakoolaki can establish a prima facie case of discrimination based on her

disability, the District must come forward with a legitimate, non-discriminatory reason for the

adverse employment action. Raytheon Co. v. Hernandez, 540 U.S. 44, 49 (2003); Calderon, 113

Fed. App’x at 592. Once the District does so, the burden shifts back to the District to submit

sufficient evidence that the District’s proffered reasons are a pretext for discrimination or

retaliation. Id. The District’s burden to articulate a legitimate reason for its actions is one of

production, not persuasion. Brockie v. AmeriPath, Inc., 273 Fed. App’x 375, 378 (5th Cir. 2008).

“The ultimate burden of persuading the trier of fact that [the District] intentionally

discriminated [or retaliated] against [Kakoolaki] remains at all times with [Kakoolaki].” Wilson

v. Exxon Mobil Corp., 575 Fed. App’x 309, 313 (5th Cir. 2014) (internal citations omitted).




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       The evidence shows that Dr. Lewis was unable to reach Kakaoolaki’s former supervisor

that Kakoolaki listed as a reference. Dr. Lewis testified that because of this, Kakoolaki was

not able to move further in the interview process. [Exhibit D, 56-57:1]. Additionally, Judy

Brown, a long-term substitute for GISD applied for the position of social studies teacher at

CMS. [Exhibit E, 98:25-99:25]. Unlike Kakoolaki, Ms. Brown had experience managing a

classroom and working with the staff and students at CMS. The Court should grant summary

judgment in favor of the District.

                                    VII.   CONCLUSION
       Defendant Galveston Independent School District requests that the Court grant its

Motion for Summary Judgment, order that Plaintiff Suzonne Kakoolaki take nothing on her

claims against them, and grant the Defendant all such other and further relief to which it may

be entitled, at law or in equity.

                                                Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that she has conferred with Plaintiff’s counsel, Dorian
Vandenberg-Rodes, via telephone conference on July 7, 2023 regarding the filing of this Motion.
Plaintiff opposes this Motion.

                                               /s/ Celena Vinson
                                               Celena Vinson
                                               Dena Moghtader




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing instrument was

served upon counsel of record for Plaintiff by email on July 10, 2023.

       Dorian Vandenberg-Rodes, Esq.
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                                               /s/ Celena Vinson
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